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     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     RAMON FILIPE MALDONADO
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:10-cr-220 GEB
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   JOHNNY E. “JAY” GRIVETTE, JR., )
     et al.,                         )
17                                   )     Date: October 8, 2010
                    Defendants.      )     Time: 9:00 a.m.
18                                   )     Judge: Hon. Garland E. Burrell
     _______________________________ )
19
20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendants, Johnny E. Grivette, Jr., Damon Rydell, and
22   Ramon Maldonado, through their respective attorneys, that the status
23   conference scheduled for October 8, 2010, may be continued to November
24   19, 2010, at 9:00 a.m.
25        Counsel for defendants need further time to review discovery, to
26   complete investigation, to consider the filing of pretrial motions, and
27   to confer with the government regarding potential resolutions.        To afford
28   time to complete these tasks, the parties agree that time under the
              Case 2:10-cr-00220-GEB Document 27 Filed 10/08/10 Page 2 of 3


1    Speedy Trial Act should be excluded from the date of this order through
2    the status conference on November 19, 2010, pursuant to 18 U.S.C. §
3    3161(h)(7)(A) and (B)(iv)(Local Code T4).
4                                              Respectfully submitted,
5                                              DANIEL J. BRODERICK
                                               Federal Defender
6
7    Dated:    October 6, 2010                 /s/ T. Zindel
                                               TIMOTHY ZINDEL
8                                              Assistant Federal Defender
                                               Attorney for RAMON MALDONADO
9
     Dated:    October 6, 2010                 /s/ T. Zindel for
10                                             MARK J. REICHEL
                                               Attorney for JOHNNY GRIVETTE, JR.
11
12                                             /s/ T. Zindel for
     Dated:    October 6, 2010                 J. TONY SERRA
13                                             Attorney for DAMON TODD RYDELL
14                                             BENJAMIN B. WAGNER
                                               United States Attorney
15
16   Dated:    October 6, 2010                 /s/ T. Zindel for
                                               RUSSELL CARLBERG
17                                             Assistant U.S. Attorney
18                                        O R D E R
19          The status conference is continued to November 19, 2010, at 9:00
20   a.m.    Time under the Speedy Trial Act is excluded through that date for
21   the reasons stated above and by agreement of the parties, the court
22   finding that the ends of justice to be served by a continuance outweigh
23   the best interests of the defendant and the public in a speedy trial.
24          IT IS SO ORDERED.
25   Dated:    October 7, 2010
26
27                                       GARLAND E. BURRELL, JR.
28                                       United States District Judge


     Stip. & Order                             2
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     Stip. & Order                           3
